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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

  UNITED STATES OF AMERICA                          §
                                                    §
                                                    § CASE NUMBER 9:15-CR-00011-RC
  v.                                                §
                                                    §
                                                    §
  GERARDO ELIAS (5)                                 §
                                                    §

          ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                       ON DEFENDANT’S GUILTY PLEA

        The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

 Judge Zack Hawthorn conducted a hearing in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before

 the United States Magistrate Judge. The magistrate judge recommended that the court accept the

 Defendant’s guilty plea. He further recommended that the court adjudge the Defendant guilty on

 Count One of the Information filed against the Defendant.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

 are ADOPTED.       The court accepts the Defendant’s plea but defers acceptance of the plea

 agreement until after review of the presentence report. The court ORDERS the Defendant’s

 attorney to read and discuss the presentence report with the Defendant, and file any objections to

 the report BEFORE the date of the sentencing hearing.
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        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Gerardo Elias, is adjudged guilty

 as to Count One of the Information charging a violation of 21 U.S.C. § 846 - Conspiracy to Possess

 with Intent to Manufacture Methamphetamine (actual).


     So Ordered and Signed
     Mar 3, 2017
